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                                               EXHIBIT 3                City Council Member Jamal Osman - 6th Ward
                                                                                        350 S. Fifth St. - Room 307
                                                                                           Minneapolis, MN 55415
                                                                                                 TEL 612.673.2206



From:
Council Members Jamal Osman, Elliott Payne, Robin Wonsley, Jeremiah Ellison, Jason Chavez, Aisha
Chughtai, Emily Koski, Aurin Chowdhury
350 South Fifth Street, Room 307
Minneapolis, Minnesota 55415

To:
Mayor Jacob Frey
350 South Fifth Street, Room 331
Minneapolis, Minnesota 55415

Mayor Frey:

We, the undersigned members of the Minneapolis City Council, are formally contacting you to express our
concerns regarding the planned December 14, 2023 eviction of an encampment located at the 23rd Street
and 13th Avenue South intersection in the Ventura Village neighborhood of Ward 6. This encampment,
commonly known as Camp Nenookaasi, is home to over 180 residents.

This encampment was formed approximately 4 months ago in August, 2023. Community members in South
Minneapolis have self-organized to create systems of safety, security, peacekeeping, and care at the Camp.
Many of them attended the December 5, 2023 Public Hearing on the 2024 City Budget to share powerful
and heartbreaking stories of their experiences.

Camp Nenookaasi has proven to be a unique example of an encampment. Since its formation, Camp
Nenookaasi has successfully transitioned 74 residents into permanent housing, helped countless residents
access basic healthcare, and supported dozens of residents in starting the journey of sobriety from
substance use disorder. Notably, they have ensured no resident has lost their life due to an overdose.

It’s impossible to transition the remaining 180+ residents to a permanent home or long term shelter in a
week. Camp Nenookaasi residents and the community members supporting them have been clear: they
need more time and resources to get the residents living in Camp Nenookaasi into permanent housing, not
a permanent delay of a future closure. The residents, community members, and service providers want to
be a part of the solution in reducing homelessness, ending the cycle of encampment formation and
eviction, and addressing serious and urgent public health issues our unsheltered community faces.

Unsheltered homelessness and encampments are a reality our city is struggling with, one that is stemming
from many causes. The U.S. Department of Housing and Urban Development’s Understanding
Encampments of People Experiencing Homelessness and Community Responses report found that
“increases in homelessness are first and foremost the result of severe shortages of affordable housing,
combined with a lack of political will to dedicate sufficient resources to address this problem.
Encampments form in response to the absence of other, desirable options for shelter.”

We can all agree that encampments are not the long term solution, nor should we consider living in a tent
outside in subzero temperatures “dignified housing.” But neither is the current approach carried out by the
administration you lead. Without a permanent, dignified place to go, unhoused residents will continue to
form new encampments after each closure. It’s time for us to put our differences aside. We must work
together to explore new, evidence-based solutions. We’re sincerely offering our partnership to
meaningfully and urgently address this crisis.
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We request the following actions from you and your administration:

First and foremost, delay the eviction of Camp Nenookaasi until February 16, 2024. The eviction on
December 14, 2023 will only lead to harm done to unsheltered residents through the loss of relationships
to the service providers giving them critical services to meet healthcare and housing needs. This eviction,
like previous evictions, will disburse unsheltered residents throughout our city and will lead to the
formation of new encampments impacting the health and safety of neighboring Minneapolis residents.
Evicting Camp Nenookaasi will displace around 180 people, and in conjunction with other planned and
recent evictions will continue to intensify the crisis of encampments across the city. Finally, this will break
trust in government services at a time when we need our unsheltered population to feel they can receive
reliable services to access housing, treatment, and other support.

Second, between now and February 16, 2024, pursue all efforts to address public health needs at Camp
Nenookaasi and the surrounding community. Coordinate with Hennepin County, our organizational and
community partners, and service providers to increase the frequency and amount of resources available to
unsheltered residents at this site to provide healthcare, substance use disorder treatment, and most
importantly access to permanent housing. In carrying this out, we request that you work with the
community members who have been organizing and supporting the operations at Camp Nenookaasi.

Finally, we request you meet and work with us to collaborate on short-term, medium-term, and long-
term solutions to reduce homelessness, prevent the formation of encampments, and address the serious
and urgent public health issues unsheltered populations in Minneapolis face. The solutions we are
bringing forward include and are not limited to: coordinating with partners in governmental agencies and
service provider organizations to open a Navigation Center with wrap-around services available onsite,
supporting the Council’s efforts to enact a Safe Outdoor Space Ordinance and an Encampment Response
Policy Ordinance, and presenting solutions to dramatically increase the availability of permanent housing
options for residents transitioning out of homelessness.

We look forward to a response from you, one that includes your commitment to working with us to
meaningfully and urgently address our city’s unsheltered homelessness crisis.

Sincerely,
Jamal Osman, Ward 6 Council Member
Elliott Payne, Ward 1 Council Member
Robin Wonsley, Ward 2 Council Member
Jeremiah Ellison, Ward 5 Council Member
Jason Chavez, Ward 9 Council Member
Aisha Chughtai, Ward 10 Council Member
Emily Koski, Ward 11 Council Member
Aurin Chowdhury, Ward 12 Council Member
